Case: 4:24-cv-00056-RLW Doc. #: 6-7 Filed: 01/10/24 Page: 1 i PROO2E 09642

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EXHIBIT
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FAX FROM:
Mercy Internal Medicine
6435 Chippewa Street
St. Louts, MO 63109
PHONE: (314) 366-3000
FAX: (314) 366-3001

DATE: { ( Nf
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FAX:

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NOE PETITION EXH. 7, Page 1 of 9
Case: 4:24-cv-00056-RLW Doc. #: 6-7 Filed: 01/10/24 Page: 2 of 9 PagelD #: 496

FAX CONFIRMATION Result: Success

Sent by:

Name: Mercy Clinic Internal Med - Chippewa ~ (314) 366-3001
Voice Number:

Fax Number:

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Name: Fax User
Company:

Number/Address: 3 143403395
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Remote CSID: Unknown

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t135 Chinpewa street
St. Louis, BIO b3109
PHONE: {31-1} 306-3000 ; .
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NOE PETITION EXH. 7, Page 2 of 9
Case: 4:24-cv-00056-RLW Doc. #: 6-7 Filed: 01/10/24 Page: 3 of 9 PagelD #: 497

lercyiP FAX FROM:

Mercy internal Medicine
6435 Chippewa Street
St. Louis, MO 63109
PHONE: {314} 366-3000
FAX; (314) 366-3001

DATE: 3 S/o
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COMMENTS:

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Case: 4:24-cv-00056-RLW Doc. #: 6-7 Filed: 01/10/24 Page: 4 of 9 PagelD #: 498

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ARRIS-STOW
, 3026 Laclede Ave | St, Louis, MO 63103
STATE UNIVERSITY -=. {314) 340-3563 | (344) 340-3395

OFEICE OF HUMAN RESOURCES waw.hseu.edu

Fax

Te Dr. Catherine Ash From: Romney Edwards
Fax: 314,366.3001 Pages: Lf
Phone: Date August 17, 2021

Re: Kanneth Nos ADA, Paperwork ce:

OUrgent {FerReview (1 Please Comment C) Please Reply Please Recycle

Greetings,

Attached you will find the Request far ADA Documentation for Kenneth Noe.
| can be reached af 314.340.3563.

Thank you.

Romney Edwards
Director of Human Resources
Harris-Stowe State University

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Case: 4:24-cv-O00056-RLW Doc. #: 6-7 Filed: 01/10/24 Page: 5 of 9 PagelD #: 499
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STATE UNIVERSITY )
OERICE OF HUMAN RESOURCES ne eee aS oe

AUTHORIZATION FOR USE/DISCLOSURE
OF HEALTH INFORMATION

Authorization for Use/Disclosure of Infannation: | voluntarily consent to and authorize my health care provider
Dr. r, Catherine Ash {insert perme) to use or disclose my health information during the

term of this Authorization to the recipient(s) thrt I have identified below.

Recipient: { authorize my health care information to be released to the following reoipient(s):

Name: Kenneth Noe
Address: ME me
ft >

Purpose: I authorize the release of my health informatinn for the folowing specific purpose: ADA Accommodations
for the workplace
(Note: ‘at the request of the patient” is sufficient if the patient j ig initiating this Authorization)

Information to be disclosed: 1 audkorize the release of the following health information;

QO All of oy bealth information (hat the provider bas m his or her possession, iueludinp information relating £0
any medical history, mental or physical condition and any treatment received by me.

Pe} —- Oaly the following records or types of health information. Appl to ADA Accommodations in the
riplace

Term: ] understand that thizg Anthorization wall remain in effect:

Fron the dats of this Authorization until the day of 20.
Untl the Provider fulfills this request.
[1 Until the foltowing event occurs:

Redisclogure: Cunderstand that my health care provider cannot guarantee that the recipient will not redisclose my
health information tu a third party. The third party may not be required to abide by this Authorization ar applicable
federal and state law poverning the use and disclosure of my health infonnation,

Refusal to sign/right to revoke: 1 understand that signisp this form is yoluntaty and that if{ don’t sign, it will not
affect the commercement, continuation or quality of my Lreatment at Harris-Stowe State University. If I change my
mind, I understand that 1 can revoke this authorization by providing 2 written netice of revocation to the Office of
Huroan Resources at the email address listed below. The revocation will be effective immediately upon my health care
provider's receipt of uny \written notice, except that the revacation will not have any effect on any action taken by my
health care provider in refiance on this Authorization before it reccived my written notice of revocation

Questions: If you have any additional questions please feel free to contact our Human Resources Department at (314)
340-334); Romnsy Bdoerds EdwardRo@hssu.edu.
4

- en, willy re i ca 8/16/2021 |
Aémployee Signature Date Signature of Wimess

If Individual is wuable te sign this Authorization, please complete the information below:

Name of Guardian/ Legal Relationship Date Witness
Representative

NOE PETITION EXH. 7, Page 5 of 9
Case: 4:24-cv-O00056-RLW Doc. #: 6-7 Filed: 01/10/24 Page: 6 of 9 PagelD #: 500

AUz. 1h 2372 | 1:42 7M ho, L518 2 F
H Ak RIS i 3 iT 2 WH 2026 Laclede Ave | St. Louis, MO 83103
OFFICE OF HUMAN RESOURCES es ee
Medical Inquiry Form

ADA Reasonahle Accommodation Request

Information Pertaining to Medical Documentation: In the context of assessing an accommodation
Tequest, medical documentation is required to determine if the employee has a disability covered by the
ADA and to assist in identifying an effective accommodation. It is the responsibility of the employee to
ensure this form is completed by the medical provider and returned back to the employer in order to
complete the accommodation request.

Medical providers are asked to complete each section and fax back the signed and dated original form
using the contact information on the attached document which also includes a description of the
employee’s job duties,

Fax Completed Form To The Attention of Romney Edwards at FAX #314.340,3395

Employee Name; Ko inne. s Moe.

A. Questions to help determine whether the employee has 2 disability.

J. Existence of impairment: For reasonable accommodation under the ADA, the employee has a
disability if be or she has an impairment that substantially limits one or more major life acuvities
or asecord of such impairment.

Does the employee have a physical or mental impairment CES CINO

a. If yes, what is the impairment? Th MH © hypernlier wo

2. Limitations op major life activities: Answer the following question based yn what limitations
the employee has when his or her condition is in an active state and what limitations the employee
would have if no mitigating measures were used. Mitigating measures include things such aa
medication, medical supplies, equipment, hearing aids, mobility devices, assistive technology,
auxiliary oids or services, prosthetics, etc. Mitigating measures da not include ordinary eyeglasses
ar contact Jenses.

Does the impairment substantially limit a major life activity as compared to most people in
the general population? ES CONO

a, If yes, what major life activity(s) (including major bodily functions) is/are
affected? (Please circle).

[JBending [jHearing [JReaching {_]Speaking
[_]Breathing efnterecting with Others [_TReading ([_]Leaming
[_iSeeing (_\Thinking Concentrating [Lifting [_ |Sitting
LJWalking (_JEating (_lPerforming Manual Tasks
[Sleeping [ PWorking LJStanding [[]Caring for Self

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| ARRIS- 5S TOW 3026 Laclede Ave j St. Louis, MO 64103
= — Sr (344) 340-3563 | (374) 340-3395
OFFICE OF HUMAN RESOURCES Geo ca
Other (Describe):

b. Ff yes. what major bodily function(s) is/are affected? (Please circle).

CWpladder [_]Digestive [“}Lymphartic LJReproductive

{_jBowe! Endocrine (_|Musculoskeletal []Respiratory

{}Brain (VGenitowinary —_ [_|Neurological [ |Special Sense Organs

[ |Hemiec [_]Cardiovascular [— [Normal Cell Growth [_ ]Cireulatory
_efframune [\Operation of an Organ

Other (Describe):

3. Duration; Describe the nature, severity and anticipated duration of the impairment.
Temporary (explain): Sradid pede Gi Mee. unkt CY Agus. Nekieo_
Anticipated duration: Aino to hide rise hy co ov ia ‘nyation—
Temporaty with residual side effects (explain):

Pennanent:

Episodic/In Renussion (explain):

B. Questions to help determine whether an accommodation is needed.
1. What linnitation(s) is mterfering with job performance or accessing a benefit of employment?
“Pabeles uf NLA Can Oseise — nb Cha
CHA ke Noy wetion

2. What job functions (@escription attached) or benefits of employment is the employee having

trouble performing or accessigg because of the limitation(s)? ; - po bing:
acconmnbt a ionksue é — - a
Or “Wa hate

Ace ©

3. How does the employee’s limitation(s) interfere with hissher ability to perform the job

function(s) or access a benefit of employment? (ta, WN 1b cubies
but mrcomadid pt souks Alm. Rake

C. Questions to help determine effective acconmmodatian options.

Be ee have any suggestions regarding possible accommodations to improve joh performance?

S CINO J
a. IF so, what are they? Mou patent to york a bone: J

2. How yould your suggestions improve the employee's job ae yb aon Ble

Dut med whale. depuasing Fis po Dyhent
NOE PETITIONEXH. 7, Page 7 of 9
Case: 4:24-cv-00056-RLW Doc. #: 6-7 Filed: 01/10/24 Page: 8 of 9 PagelD #: 502

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HARRIs- STOWE, 3028 Lacteda Ave | St. Louls, MO 83103

STATE UNIVERSITY
OFFICE OF HUMAN RESOURCES manera a

D, Other Questions oy Comments:
Health Care Provider Name: ae band Coit Ab PAD
Health Care Provider Address: CAS Chuppuos w heois MO LWOY

Health Care Provider Phone Number: Ayu. Mg AOOO
Health Care Provider Signature: f Nine Wind: Cola y Da we

Sie. Klay |

Fax Completed Form to the Attention of Romney Edwards at FAX #314,340.3395

This authorization dees not cover, and the infornation to be disclosed should not contain, genetic inforination. “Genetic
Information” includes: Informahon about an indjvidual's genetic tests; information about genetic tests of an individual's
family members; jnformation about the manifestetion of a disease or disorder in an individual’s feantly merobers (famuly
medical history); an individual’s request for, or receipt of, genetic services, or the participalign in clinical research that
includes genetic services by the individual or a family member of the individual; and genetic information of n ferus carried
by an individual or by a pregnant woman who is a family member of the individual and the genetic information of any
embryo legally held by the individual or family member using oti assisted reproductive technology.

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MERCY CLINIC INTERNAL MEDICINE ~
CHIPPEWA

&
Ss
Mi e rcy IT 6435 CHIPPEWA STREET
SAINT LOUIS MO 63109-2104
Dept Phone: 314-366-3000
Dept Fax: 314-366-3001

8/18/2021
To Whom it May concem:

Kenneth E Noe has medical conditions that would put him at increased risk of Covid infection. It is
recommended that he performs his jeb duties remotely and work from home. FMLA forms have been

completed to show this accommodation request. Please feel free to contact the office if there are any
additional questions or problems. Thank you for your time in this matter.

Bare Hand - cv DAP

Gina Hand-Eoloff, APRN

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